Case 16-01014-RA|\/| Doc 81-2 Filed 06/12/18 Page 1 of 4

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UNITF,D STATES BANKRUPTCY COURT

 

 

 

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Debtor '( l if _
Case NO. _ 15~1 5051~§\*$_¥_,{\_,<"1_*_ `) ‘:? F gaf §
(r"omplere ffr's:zred in on ndvcrmry proceeding _ f , l 1
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1 - v "' . ~. _ 16»€1:,14--- '_:
Qu," :.1 l_anos :.l';l szn L.'.;n'os Ad"' Pm" N° _»-_*~____»..._V‘A
De!`endam

 

SUBPOENA TO PRODUCE. DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
INSPECTION (}F PREMISES ]`N A B¢'\NKRL`PTCY CASE (()R A.DVERSARY PROCEEI)ING)

'I`o: i:`?l.'- Cc;';:oroti¢ “1. ,'\.'= '.'.' Rl. c.:ro' Cun""li..o 939 Fo[.c ,- do Ll._‘.. Blvd Coral Gal es, FI_ 33134
(;’\»'()me ofperson 10 whom fha subpoena is direc:wd}

]:l Frodu<::ion: YOU ARE C()MMAN[)ED to produce at the clme, date, and place set forth below fha following
dooumcnt's, electronically stored information or objects. and to permit inspection copying testing or sampling of the

material: SEE EXF~. lbl`l` ”A" `TTACHED.

 

 

PLAC.E DATE AND TIME
Co:. nn Law ‘.'.-m T>.\ l soon ' 7 321 2 .»~';>or, ‘.'snl~ i, :=:. 33125 05!14/1:3 .;;OG pm

 

l:] lmpecn'on qu;~em:'ses: YOU ARE COMMANDED to permit enojy onto the designated premises, fond, or
other properly possessed or controlled by you at the limo, dato, and location set forth boiow, so that the requesting oa:*:»‘
may inspect measure, slrrvoy, photograph test, or sample the property or any designated objector operation on it

PLACB DATE AND TIME

 

 

 

 

 

 

'I`he following provisions ot`Z-`ed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached ~ Rnle 45(0), relating to the place of compliance; Rulc 45(<1)` relating to your protection as a person subject to a
so bpoena; and Rule 45{2) and 45{g), relating to your duty to respond to this subpoena and the potential consequences ofnot

doing so.

ane: __
CLE£RK OP` COURT

OR `
g . j § § (J§:/Sp,?g) »£/ U
S:`gnn!w'e off."!e)'i< or !Jop:my (`!erk A Horne y ’A‘ . ‘.§g)?aflrr div M

'lbo name, address, omail address` and telephone number of inc anomcy representing ¢na»ze quorg.)j
V~ lll¥!~`!m G ray , who issues or rcquos§s Lhis subpoonnq are:
.`lo. roe Coron:, Es\.';.. 385 .= N 7 Si. 2r fFloo., l‘,`, 'rl, FL 331"6,. '¢‘2¢<.)=.&;>1.¢:1_-“,*)5-5 .7-1' 34
Notice to the person who issues or requests this subpoena
if this subpoena commands the production o{<locumcncs, clocETonica|ly stored information or tangible rhings‘ or the
inspection ofpremises before zriai, a notice and a copy ol`rhis subpoena must be served on each pony before it is served on

thc person to whom it is directed Fcci. l{. Civ. P. 45{&)(4).

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Case 16-01014-RA|\/| Doc 81-2 Filed 06/12/18 Page 2 of 4

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PROOF GF SERVICE
(This section should nut be filed with the court unless required by Fed. R, Civ. P. 45.)

l received this subpoena l"c;r maine qf individual amf mich _f.f`auy): ___
on (da:e) .

 

EJI served the subpoena by delivering a copy 10 the named person as follows:

 

 

 

 

___ on (da.'e.) ___ __ ‘ ur

_ ,.-...,...~..._.._.._...... 5

[:| l retumed the subpoena unexecuted because:

Un!ess the subpoena was issued en behall"of` the Unitecl Smtes. or one u£` its officers or agents, l have also tendered tn fhc
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of 3

_--_»-m---_»___...____m_____

My fees are $` _ ___ ___ for travel and $ _____ for services, for a total 0?`$__ _

l declare under penalty of perjury ihal this information is true and correcr.

Date:

 

3e1 ‘ver ‘s signature

Prinre:/ name and tide

 

 

Ser\'cr 's address

Acidlliona.l information concerning attempted scrvlce, ctc.:

Case 16-01014-RA|\/| Doc 81-2 Filed 06/12/18 Page 3 of 4

El?:i?{l tl-`omi 257ti- =.uopuun.; to l'rcziucc Doct.ment.~. lnt'ormatlcu, or Uli;ccts or To Pt,~rimi littoc.t ~>- in rt BunL:uptq Casc m .»\\§vcrsat'v Prccccdingi [P.t_~c 31

Federal Rule 05 Civi! Proccdurc 45{¢), (d).1 (e), and (g) (Et`fectivc 12/1/13)
(mudc applicable in bankruptcy cases by Role 9016, Fetleral Rules of Bizukru;)tcy Procedurc)

{e) Fluce of co:npliznct.

(U l"nr a '!'riul. lilco-ing or Dr)pn.r£rio:i A subpoena may command it
person to attend o triol, lic:irlng, or deposition onlyl to l`elluw:t!
(A) within 100 milc.c ofwlterc tire parson rcsidos. is cmploycd, or
regularly transacts business m pcisou. or
(13) within thc time where thc person rcsideo. is employc»;l. or rcgulur;y
transacts business in pcrson. il` thc poison
ti) is a party ora party`s oft'ttxr; or
tit} is commanded to attend ii trial and would not incur substantial

cxpeuse.

(2) Fm' 0rherDisca~.»a)j\ n subpoena mary commiuid:

(A] production oftlooomcnts. cr electronically slolcd infomtalitltt, or
things at a place within 106 miles ol`wbcro thc person residcs, is employcd.
or regularly transacts business in pcrson; and

[B} inspection ofprcmiscs. al lite promises to itc lnspcclt:d.

{d) Protccting a Pcrsnn Sulsjccl to a Su biancoa; E.uforccmeur,

Uj` At'r)i`¢!mg l."nduu sz!eu cr j£x;:eose; Scncticns. A party or
attorney respomiiilc l`or issuing and serving asuopoona must toto
mason-able steps touvoid imposing ondi.tc burden or expense on a person
subjcct to thc subpocnu. Thc court f`or lite district where compliance is
required must colorcc this duty and impute on appropriate sanction _
which may include lost earning and rcasouubic attorneys fcc., -- on it
party or i.tlomcy who fails to comply

f_‘} Com.'i:ana' to l'rocz'uue il!ateriul.t cr 1"er)nit lmpcctirm.

(A) rlppcamncc i"cr Requir. .i. A parton commanded to products
docttmcrtr.s` electronically stored iul`ot'nialiort, or tangible things. or to
permit the inspection of pccmiscs, need not appcnr in person al thc olim ot'
production or in' pection unless also commanded to appczu for a deposition
hearing or trial

(H,l l}!_>,i`er_'rrurr.v. :'\ person committed tn produce documents or tangible
things or to pco'riit inspection may scch on thc port)- or attorney dc.ignitlci.|
in tltc subpoena a written objection co inspecting copyint.', tt. ~tin_: or
sampling anj~, mall of the materials or to inspecting thc premises - or to
producing electronically stored information m lite form or fonns ruquc .tctt.
'l'ltc objection must tie served before thc earlier of the time specified fur
compliance or 14 days alter thc subpoena is served . |l‘ .'m objection i._ modc.
the following rules apply

(i} At any rime, on not§c .~ to thc commanded pursoo. the serving party
may move thc court l`or thc district where compliance is required for am
order compelling production or inspection

(iil 'I'hcsc acts may bc required only ns directed itt the ordcr, and lite
order must protect a person otto is neither a party nor c patty's ol`liccr lrcm
significant expense restoring t°rom compliance

(3} sz.riir`ng or Mcdg{ylng o Si:'puerr.c.

{;il) ll‘!ir'n Rc¢¢rrred. Oo tiiucly moticnt` thc court l`or thc district \\'l”.ct..

compliance is rcqiiircci must quash or modify c subpoena tliat:

(i} l`ttils to :Jiotv a reasonable time to comply;

tii) rcqoiru> o person to comply bcyooti the geographical limits
specified iii Ruic 45(&:];

tiii‘r requires disclosure of orn- iicged or other protected mottcr. il`no
c.‘<ccprlon or waiver opplies', or

lit-') sttojcets a pcrttm lo undue bitttlctl.

(ii) H' en Purmi:rcd To protch o person subject to cr aliceth by c
subpocuu, thc court l`or thc district where compliance is required muy. on
iiiuiiort, quash ormotlrl`y thc subpoena iflt rcoulrcs;

til disclosing a trade secret or other ccml`tdcntia| research,
dcvcltipmcol. or commercial inl'\u iiitllion; or

tli} dist.;oting on unrctoiocd cxpcrt‘s opinion or information that does
not ti€\».‘i .lie <pc:'il`.c oL ;ur.':'tit:es in dispute and results imm lllt: cxp€l'l.~`
study that was riot requested lay a party

lt '.l .S}r:'»t§ring t'.`ofm'i'tr'orrt~ tt.t' orr ,-lt'!er'na£iit:. in flto circumstances

tlc$t;l'ihco' itt Ritic 45(¢]}\3}{1%)_ t]i:: court muy. inst.t‘.ad ofqutisltirtg or
modil" ing o Subpoeoa. order appearance or modoction under specified
conditions if the serving putty:

(i) sltot\': ;t substtuttiul need for the testimony or material that cannot
bc otherwise met without undue himt'tbip: and

(iil ensures that the subpoenaed pursuit will he reasonably
compc n.\.o£ctl.

(c; liberties in Rc.spoudiog to a Subpocrta.

(l') Pi‘r)do¢:m f.)acir)n<’n!s ar bict'rronic'¢o’{v .?torc‘d f:;formar'r`ort. '[`lic:\c
procedurcs apply to pfoducing documents or electronically stored
iniormniion:

(/I) Doc~u.'ucnts. A person responding to usol)poeno to produce
document . must produce them to thev are kept iu the ordinary course oi'
business or m.x rt organize iuid label them to correspond to the catcgorict in
thc dematicl.

{r?l }"'omi_]£:r Pi~¢)du ing Eleclronh at‘.§v Slcrcu‘ l;yilmtario)z blue
.S'prc;ficd ll"a subpoena docs not spccify a form i`or producing
electronically st.)r't:cl information thc person rcspottding must produce il in
a l'orm or forms in which it is ordinarily maintained or in a reasonably
tisoblc form or tiit'nis.

rt,`) E!ecrroriica!l_i: Sr't)rsd In_/brmarion Pradzn: sri m Only Onc rarm. ’l`hc
person responding need riot produce the samc electronically stored
in formation in more titan one form

(.Dj inaccessible Elecrrcm'call,v .S'rarca']nfarmarlcrn. Tltc person
responding need not provide discovery ofelcctronicaily stored information
f`rurn sources that the poison identifies mt not reasonably accessible become
of undue burden or cost Oit motion to compel discovery or for a protectch
ortlcr, the person responding must-allow that thc information is not
mmnckt;' ucccssiclc rcce:.'sc “fi.'uo'uc borden er co::t. li`il‘.c.t s :cv.'i:i_g as
mud*_'. th-: court may nonetheless order discovery from such sources if ’...¢
ri:qtteslitiv, party shows good cause, considering thc limitations ofRulc
Zotb]t’?.l{C). 'E`lt court may specify conditions for the discovery

 

 

(2,' flowing }’rivi}cge or Prc)reclion.

fill information ll"l`zhhe»'d. A person withholding Subpncnactl
information under tt claim thth it is privilcgcd orsubject to protection as
lrinl-prcpm‘:ition material most

ti) ¢.\'prcssly' multc lth t:ltti`m.' and
(ii} describe the notch oftlt.. withheld doctimcots. crimmttnictttimis.

cr tan__ililc things in a manncrlhatt without rcvcaling information itsch
privileged or protected will enable llic parties to assess the claim

(B} /rgfo;'ma!r'on Prodrrce¢£ lf information produced in response to it
subpoena is subject to a claim of privilege or of‘ protection as trick
preparation materiul, thc person mailing lite claim may notify any party that
t‘cociverf thc information ol`l.hc claim and lbo basis for it. Al’lcr being
nutihctl. rt partyl must ptom;ttly rctom. scqticstcr, cr destroy thc specified
inlormatioit and any copies it him must not ma or ditclosc thc information
until tile claim is rcaolvctl; must take reasonable stops to retrieve thc
information il`thc party di$clost‘,d il before being notificd: and may
promptly present tire information under seal to chc court f`nr tile district
whom coniplian; ;: is rcquircd for it dctcnuiuation ot` the claim. 'l`lte person
t on produced thc infonuiition must prescrvc thc information until the claim
it rcdolvc\.l.

{g) Cootcmpl. 'l itc court l`or the di>'.rit:l tvlicr: compliance is required -»zind
ulso, alter a motion i~' trunslcrred, tito issuing court -- may hold iii contempt
a person who_ having b.:uii sorvcd‘ l`uiis without adequate excuse to obey
thc subpoena or art order related to it

 

 

For access to subpoena nit:lcriols, size Ft-d. lt f‘iv. l’. »;S(u}C`ommittt _'Not:(£tll§l}

 

 

Case 16-01014-RA|\/| Doc 81-2 Filed 06/12/18 Page 4 of 4

EXHIBIT "A"
DE FINITIONS

As used iteret`n. the term DOCUMENTS includes ali titl'ritirtgsv ltntttivttritingj typcwt'iting,
printing photographing scanned imagc, electronic image, scanned tcxt, olcctronic tcxr, and
every other means of recording upon any tangible tltings, in any form of communication or
representation including lotters, Worcls1 pioturcs, sounds or symbols, or combination thereof As
well as any electronic data stored or residing in any computer databosc, hard t:lt'ive, digital tapc,
floppy disc, or any other Wn'ttcr: or graphic material or communication, incssogc, note or`
memorandum in addition, DOCUMENT herein additionally specifically includes invoices,
purchase orders, copies of cbccks, bid proposals1 bid quotcs, bid solicitations pricing quotcs,
shipping orders, shipping rcqttcsts, packing slips, receipts for storage of products,
mcmorandums, bills, estimatesl quotes, shipping receipts

As used herein the word €`OMML'NICATIGN means and includes any oral, written or
electronic conversation, meeting, conferencc, corrospondcnce, communication, ntcssagc, notc,
mcmoranclum, lelter, postcard, cord, ledgcr, minutcs, post-it notcs, instructions, delivery of a
document or tangible or intangible item from one person and/or entity to another, signagc,
instant message, text, social media message or cmail.

As used heroin the C-ONCERNING shall have and include not only its commonly
understood meaning but the following meanings ns wcii, where applicablc; relating tn,
comprising reflecting7 t=:t.'iclenringz constituting, pertaining to, dealing with and showing

A,s used herein the words RELA'I`ES 'I`O shall have and include not only their commonly
understood meaning but the following meanings us wcll, Wherc applicabic: relating to,
comprising reflecting referring to, evidencing constituting pertaining to and dealing with,

As used herein PE.RSON means atty natural person, oorporation, pett“lncrslnip1 association1
trust group, organization, agency burcau, department or entity or any other cntity, or

combination thereof.
As used bcrcin, the singular shall include tile plural and vice versa_

As used herein the term YOU or YC'UR or YOURS refers to each party to whom this
request for production of documents is dircotcd, its agents, crn}:)it)yccsg officers and directors,

attorneys and those employed by its attorneys
As used herein EACH Shall mean each and cvct'y.
As used heroin OR shall moon and/or

As used herein ANY includes the Worcl all and vice versa

